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                             UNITED ST ATES DISTRICT COURT                      2122 JUN 24 AH 10: 00
                                        FOR THE
                                 DISTRICT OF VERMONT                                    CLE Rf{

                                                   )
INRE:                                              )
NONJUDICIAL CIVIL FORFEITURE                       )       Misc. No.:     5:22-mc-83
PROCEEDING                                         )
                                                   )


        ORDER EXTENDING TIME TO FILE COMPLAINT FOR FORFEITURE
          AND/OR TO OBTAIN INDICTMENT ALLEGING FORFEITURE

       The United States having applied to the Court, pursuant to 18 U.S.C. § 983(a)(3)(A), for

an order extending, to and through August 17, 2022, the time in which the United States may file

a complaint for forfeiture and/or obtain an indictment alleging forfeiture with respect to certain

property against which the United States Drug Enforcement Agency ("DEA") initiated nonjudicial

civil forfeiture proceedings and to which Terrence Anderson asserted an interest, to wit,

$17,401.00, more or less, in United States currency that DEA seized from Anderson on January 9,

2022; $2,545.00, more or less in United States Currency seized on January 22, 2022 and

$13,100.75, more or less in United States Currency seized on February 14, 2022, (the "Subject

Properties"); and

       The United States having represented to the Court as follows:

        1.     In accordance with 18 U.S.C. § 983(a)(l )(A), DEA provided written notice of its

intent to forfeit the Subject Property to all known interested parties;

       2.      On or about April 18, 2022, DEA received from Terrence Anderson a claim in

which Anderson asserted an interest in the Subject Properties;

       3.      No other person has filed a claim to the Subject Properties or asserted any interest

therein and, pursuant to 18 U.S.C. § 983(a)(2), the time for doing so has expired;
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        4.        Terrence Anderson, by and through his attorney, Assistant Federal Public Defender

Mary Nerino, has agreed and consented to the reliefrequested by the United States, to wit, an order

extending, to and through August 17, 2022, the time in which the United States may file a

complaint for forfeiture against the Subject Properties and/or obtain an indictment alleging that the

Subject Properties are subject to forfeiture; and

        5.        The United States seeks the requested relief in order to permit the parties sufficient

time in which to potentially resolve this matter without protracted litigation.

        The Court being expressly authorized, pursuant to 18 U.S.C. § 983(a)(3)(A), to extend,

upon agreement of the parties, the time in which the United States may file a complaint for

forfeiture against the Subject Properties and/or obtain an indictment alleging that the Subject

Properties is subject to forfeiture;

        IT IS HEREBY ORDERED, pursuant to 18 U.S.C. § 983(a)(3)(A), that the date by which

the United States may file a complaint for forfeiture against the Subject Properties and/or obtain

an indictment alleging that the Subject Properties are subject to forfeiture is extended to and

through August 17, 2022.

             Dated at Burlington, in the District of Vermont, this 24th day of June, 2022.




                                                 HON. GEOFFREY W. CRAWFORD
                                                 CHIEF UNITED ST ATES DISTRICT JUDGE




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